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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES                                     *
 vs.                                               *   Case No.: 21-15-APM
 THOMAS EDWARD CALDWELL                            *
        *       *       *      *       *       *       *      *       *      *       *

                                              ORDER
        Upon consideration of the Defendant’s Unopposed Motion to Modify Conditions of
 Release, it is hereby ordered by the United States District Court for the District of Columbia that
 the Motion be granted and that the Defendant be permitted to attend a viewing service, and a
 reception following the service, located at the Oakrum Baptist Church on June 3, 2022 from 5:00
 p.m. to 12:00 midnight.




        __________________                     ____________________________________
        Date                                   Honorable Amit P. Mehta
                                               United States District Court
